                        UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                    DOCKET NO. 3:05CR390-2

UNITED STATES OF AMERICA,                         )
                                                  )             PRELIMINARY ORDER
                 v.                               )               OF FORFEITURE
                                                  )
(2) CHARLES LAMAR BULLARD                         )


         In the Superseding Bill of Indictment in this case, the United States sought forfeiture of

property of the defendant as property that was proceeds of and/or was used to facilitate the drug

crimes charged, together with any other substitute property, which would be subject to forfeiture

under §853(p).

         Defendant entered into a plea agreement; subsequently pled guilty to Counts One and

Eight in the indictment; and was adjudged guilty of the offense charged in that count. In the plea

agreement, defendant has agreed to forfeit specific property listed in the indictment, as described

below.

         It is therefore ORDERED:

         1. Based upon defendant’s plea of guilty, the United States is authorized to seize the

following property belonging to defendant, and it is hereby forfeited to the United States for

disposition according to law, subject to the provisions of 21 U.S.C. §853(n):

         One 2002 Chevrolet 1500 pickup truck, VIN 1GCEC14T6Z276687, registered to
         Charles Lamar Bullard;

         One 1998 Chevrolet 1500 pickup truck, VIN 2GCEK19ROW1178799, registered to
         Arlene Wilson Bullard;




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        2. Pursuant to 21 U.S.C. §853(n)(1), the government shall publish in a newspaper of

general circulation, notice of this order; notice of its intent to dispose of the property in such

manner as the Attorney General may direct; and notice that any person, other than the defendant,

having or claiming a legal interest in any of the above-listed forfeited property must file a

petition with the Court within thirty days of the final publication of notice or of receipt of actual

notice, whichever is earlier. This notice shall state that the petition shall be for a hearing to

adjudicate the validity of the petitioner’s alleged interest in the property, shall be signed by the

petitioner under penalty of perjury, and shall set forth the nature and extent of the petitioner’s

right, title or interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and the relief sought. The United States may also, to the extent practicable,

provide direct written notice to any person known to have alleged an interest in property that is

the subject of this order of forfeiture, as a substitute for published notice as to those persons so

notified.

        3. Upon adjudication of all third-party interests, this Court will enter a final order and

judgment of forfeiture pursuant to 21 U.S.C. §853(n).



                                                   Signed: July 24, 2006




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